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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


  FINANCIAL INFORMATION
  TECHNOLOGIES, LLC,

                             Plaintiff,
                                                             Case No.: 8:17-cv-00190-SDM-SPF
         v.

  ICONTROL SYSTEMS, USA, LLC,

                       Defendant.
  ___________________________________________/

                       iCONTROL’S AMENDED NOTICE OF APPEAL

        Defendant iControl Systems, USA, LLC (“iControl”) hereby appeals to the United States

 Court of Appeals for the Eleventh Circuit from the judgment entered on March 5, 2020 (Doc. 251),

 and from all interlocutory or other orders and rulings subsidiary or relating thereto, including

 without limitation the order entered on August 10, 2020 (Doc. 279).

        iControl previously noticed an appeal in this case on September 4, 2020 (Doc. 287). The

 Eleventh Circuit docketed that appeal as No. 20-13368. The Eleventh Circuit, however, raised a

 jurisdictional question concerning whether the District Court had entered a “final decision” under

 28 U.S.C. § 1291 given that Fintech’s motion for a permanent injunction remained pending. On

 October 30, 2020, the District Court entered an order denying Fintech’s motion in its entirety (Doc.

 298). Consequently, the judgment in this case is now final and appealable.
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                                         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I certify that on November 2, 2020, I electronically filed the foregoing via the Court’s

 CM/ECF filing system, which will send a notice of filing to all counsel of record.

                                              /s/ Jeffrey S. Bucholtz
                                              Jeffrey S. Bucholtz (Pro Hac Vice)
